Office of the New York State                                                          Letitia James
Attorney General                                                                   Attorney General

                                                        April 28, 2025

By ECF
Honorable Anne M. Nardacci
United States District Court
James T. Foley United States Courthouse
445 Broadway
Albany, New York 12207


       Re:     United States of America v. State of New York et al.
               No. 25-cv-205 (AMN) (MJK)

Judge Nardacci:

         This office represents defendants in the above-referenced action, wherein plaintiff the
United States seeks to invalidate and enjoin enforcement of provisions of New York’s Driver’s
License Access and Privacy Act. On March 25, 2025, defendants moved to dismiss the complaint
in its entirety for failure to state a claim. On April 1, 2025, the Court ordered a modified briefing
schedule for that dismissal motion, extending the federal government’s time to oppose defendants’
Rule 12(b) motion to April 25 and defendants’ time to reply to May 9. See ECF No. 14. On April
25, 2025, plaintiff filed its opposition and cross moved for summary judgment, supporting the
latter with declarations from two federal officials involved in immigration enforcement. The
docket entry for the cross-motion sets May 16, 2025 as the deadline for defendants’ response. See
ECF No. 24. However, under Local Rule 7.1(c), defendants’ time to respond to the cross-motion
is May 2, 2025, and defendants’ response to the cross-motion must be consolidated with its reply,
which is currently due May 9, 2025.

       I am writing to request that the Court (1) permit defendants to file their reply on May 9,
2025, as previously ordered by the Court; and (2) stay defendants’ time to respond to plaintiff’s
cross-motion pending the Court’s resolution of defendants’ motion to dismiss. Here, the parties
agree that the questions that underlie plaintiff’s claims—premised on preemption and the
intergovernmental immunity doctrine—are legal in nature, and may be decided by the Court
without resorting to extra-pleading information. See Pls.’ Mem. of Law (ECF No. 24-1) at 15 n.4
(“the Court need not rely on the declarations” to resolve the claims “and may do so based on the
predominating legal issues addressed [in the brief]”). Under the current court-ordered briefing
schedule, defendants’ dismissal motion will be fully briefed as of May 9, 2025, upon filing of
defendants’ reply, and will then be ripe for judicial resolution. Resolving defendants’ pending
dismissal motion first is the most expeditious and efficient way to proceed in this action.



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        There is no prejudice to plaintiffs to staying defendants’ time to respond to plaintiff’s cross-
motion at this early juncture. A judicial ruling that the complaint fails to state a claim, as contended
in defendants’ pending motion, would obviate further proceedings. And if any claims remain
following the Court’s resolution of defendants’ dismissal motion, defendants should be permitted
time to conduct discovery, as necessary, guided by the Court’s pronouncements as to the nature
and scope of any surviving claims. On the other hand, it would be prejudicial to require defendants
to respond to plaintiff’s Rule 56.1 statement and the factual averments underlying its declarations
now, without being afforded any opportunity, at minimum, to test the veracity of the proffered
evidence. Defendants’ due process rights cannot be waved away merely based on the federal
government’s assertion that its proffered facts are “straightforward and indisputable.” Id.

        Accordingly, defendants respectfully request that the Court (1) permit defendants to file
their reply on May 9, 2025, as previously ordered by the Court; and (2) stay their time to respond
to plaintiff’s cross-motion, if necessary, pending the Court’s resolution of defendants’ dismissal
motion. In the alternative, defendants request an extension of their time to file a consolidated reply
and opposition through June 13, 2025, with leave to conduct discovery, if necessary, in furtherance
of the response.

       Thank you for your attention and consideration in this matter.



                                                        Respectfully submitted,

                                                        /s/ Linda Fang
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